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 AO 93 (Rev. 11/13)Seazch and Seiwre Wazrant(USAO CDCA Rev. OM17)



                                            UNITED STATES DISTRICT COURT
                                                                                                                                      1 ,~
                                                                              for the                                                               ~~.
                                                                 Central District of California                                                      t `
                                                                                                                                         ~~
                          In the Matter ofthe Search of                         )                                                        '~
                                                                                                                                          :~
                (Briefly describe the property to be searched or rdenl~ the
                               person by name and address)                       }        Case No.
                                                                                                                                             ~.~'

                                                                                                               F`"°   e   ~'--3   9

          One 64 gigabyte red and black San Disk flash drive;                   }                    ~~   ~~~~ ~;~~ ~ ;
          and One Silver and black flash drive with no                          ~
          markings or labels in the custody ofthe U.S. Postal                   }
          Inspection Service in Long Beach, California

                                                   SEARCH AND SEIZURE Vt'ARRANT
To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer ar an attorney for the governnnent requests the search
ofthe following person or property located in the Central District of California (identi,/y the person or describe the property to be searched
and give its location):

       See Attachment A

         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
descl'lbed above, ana that SUCIl Search W111 I'eVC&1 (identify the person or describe the piroperty to be seized):


       See Attachment B

       Such affidavit or testimony are incorporated herein by reference.

         YOU ARE COMMANDED to execute this warrant on or before I4 days from the date of its issuance nor ro exceed f4 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. ❑ at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy ofthe warrant and a receipt for the property taken to the
person from wham, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time ofthe return
through a filing with the Clerk's Office.
      ❑ Pursuant to 18 U.S.C. § 3103a{b), T find that immediate notifcalion may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay oftrial), and authorize the officer executing this wan-ant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate bo_r)
       ❑ for         d1yS (~zot to exceed 30)      ❑until,the facts justifying, the later specificdate of


Date and time issued:                ~ ~ ~~r`                        ~ ~• ~ J (,~(~
                                                                                                            Judge 's signature

City and state:            Los An~;eles, CA                                             Hon.    E. McDermott, U.S. Magistrate Judge
                                                                                                          Frinted ndme crud title

AUSA:            Christine M. Ro, x4496
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                                                                  Return

Case No.:                               Date and time warrant executed:         Copy of warrant and inventory left with:

 2:~~i~33toRn~                              ~►'~t4a~, ~a :2g?~                    gar-~
Inventory made in the presence of
  ~l~
Inventory of the property taken and name of any persons) seized:

     ~ 0 ~'~n, $ S~ ~ ~ D




                                                             ~' `

                                                        M~                     n~"~
                                                                MM




                                                                Cerli~cation


       I declare under pea~alty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:     ~ `~~I                                                   ~..
                                                                                       Executing officer's signature


                                                                   MA'rfMAR►c.owS~Gl ,,_ ~ln~ 1n~_~~"_----._._.._.._...._._. _..._..
                                                                                          Printed name and title
